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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS
                               BOSTON DIVISION



 STUDENTS FOR FAIR ADMISSIONS, INC.,
                            Plaintiff,                         No. 1:14-cv-14176-ADB
           v.
 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE (HARVARD CORPORATION),

                           Defendant.



                UNITED STATES’ MOTION TO SEAL PORTIONS OF ITS
                STATEMENT OF INTEREST IN SUMMARY JUDGMENT
       Pursuant to Local Rule 7.2, the United States moves this Court for an order sealing

portions of its forthcoming Statement of Interest. The United States intends to file a Statement

of Interest on August 30, 2018, pursuant to 28 U.S.C. § 517 and this Court’s orders, see July, 24,

2018, Elec. Ord., ECF No. 432. (granting leave to any interested party to file an amicus brief).

       As previously explained, the United States is currently conducting an independent Title

VI investigation into whether Harvard’s admissions policy and practices discriminate against

Asian-American applicants to Harvard College. See generally U.S. Notice of Interest in Public

Access to Summ. J. Briefing and Materials, ECF No. 395. Pursuant to its Title VI investigative

authority, see 28 C.F.R. § 42.106, United States Department of Justice has secured most of the

discovery materials that Defendant Harvard has designated as confidential and highly

confidential in this case, and obtained most portions of the sealed versions of the parties’

summary judgment briefs, statements of facts, and exhibits. The United States’ forthcoming
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Statement of Interest cites, refers to, and sometimes directly quotes the portions of the parties’

summary judgment materials that are currently under seal. 1

        This Court has not yet ruled on the parties’ dispute regarding whether these sealed

portions of summary judgment materials should be released to the public. See generally Jt. Mot.

to Seal Certain Information, ECF No. 410; SFFA Mem. in Opp’n to Harv. Mot. to Seal, ECF No.

427. To maintain the parties’ current level of sealing, the United States requests that the Court

allow the United States to file portions of its Statement of Interest under seal, and that the

document subject to this Motion be impounded until further order of the Court. See L.R. 7.2(a);

see also Elec. Ord. Gr. [Harv.] Mot. to Seal, ECF No 431 (granting similar request). If further

order of this Court does not order a release to the public, the United States requests that the

document subject to this Motion be returned to undersigned counsel for any post-impoundment

period. Id.

        For the reasons above, the United States respectfully requests that the Court grant this

Motion and allow the United States to file under seal portions of its forthcoming Statement of

Interest.



                                               Respectfully submitted,


                                               John M. Gore
                                               Acting Assistant Attorney General


                                               Sean R. Keveney
                                               Acting Senior Counsel




        1
        Defendant Harvard has designated these materials as Confidential or Highly
Confidential—Attorneys’ Eyes Only pursuant to the Stipulated Protective Order, ECF No. 55.
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                                     /s/ Matthew J. Donnelly
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DATED: August 30, 2018




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                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule 7.1(a), I hereby certify that I have conferred with counsel for the
plaintiff and defendant regarding this Motion and both indicated that they did not object to the
requested relief.


                                                /s/ Matthew J. Donnelly
                                               Matthew J. Donnelly
                                               Attorney for the United States


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF”).


                                                /s/ Matthew J. Donnelly
                                               Matthew J. Donnelly
                                               Attorney for the United States




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